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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA
UNITED STATES OF AMERICA
versus : CRIMINAL NO, 22-cr-68-SDD-SDJ

CLARENCE COREY ANDERSON

PLEA AGREEMENT

The United States Attorney’s Office for the Middle District of Louisiana (“the United
States”) and Clarence Corey Anderson (“the defendant”) hereby enter into the following plea

agreement pursuant to Fed. R. Crim. P. 11(c).

A. THE DEFENDANT’S OBLIGATIONS

1, Guilty Plea

The defendant agrees to enter a plea of guilty to Count 12 of an Indictment charging
him with unlawful use of communication facilities, in violation of 18 U.S.C. § 843(b).

2, Financial Information

The defendant agrees to fully and truthfully complete the financial statement provided
to him by the United States and to return the financial statement to the United States within
ten days of this agreement being filed with the Court. Further, the defendant agrees to
provide the United States with any information or documentation in his possession regarding
his financial affairs and to submit to a debtor’s examination upon request. Any financial

information provided by the defendant may be used by the United States to collect any

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financial obligations imposed in this prosecution and may be considered by the Court in
imposing sentence.

B. UNITED STATES’ OBLIGATIONS

1. Non-Prosecution of Charges/Dismissal of Charges

The United States agrees that, if the Court accepts the defendant’s guilty plea, it will
move to dismiss the remaining counts in the Indictment as to this defendant, after sentencing,
and will not prosecute defendant, in this district, for any offense related to the offenses
charged in the Indictment.

2. Motion for Third Point for Acceptance of Responsibility

The United States acknowledges that the defendant has assisted authorities in the
investigation or prosecution of the defendant’s own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting the United States to
avoid preparing for trial and permitting the United States and the Court to allocate their
resources efficiently. The United States therefore agrees that, if the Court finds that the
defendant qualifies for a two-level decrease in offense level for acceptance of responsibility
under USSG § 3E1.1(a) and, prior to the operation of USSG § 3E1.1(a), the defendant’s
offense level is 16 or greater, the United States will move the Court pursuant to USSG §
3E1.1(b) to decrease the defendant’s offense level by one additional level. The United States
reserves the right to object to a decrease in offense level for acceptance of responsibility

based on information received by the United States after the effective date of this agreement,

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including information that the defendant failed to timely submit the financial statement
required by Section A(2) of this agreement.

C. SENTENCING

1. Maximum Statutory Penalties

The maximum possible penalty on Count 12 is a term of imprisonment of four years,
a fine of up to $250,000, and a term of supervised release of one year.

In addition to the above, the Court must impose a special assessment of $100, which
is due at the time of sentencing. The Court may also order restitution.

2. Supervised Release

Supervised release is a period following release from imprisonment during which the
defendant’s conduct is monitored by the Court and the United States Probation Office and
during which the defendant must comply with certain conditions. Supervised release is
imposed in addition to a sentence of imprisonment, and a violation of the conditions of
supervised release can subject the defendant to imprisonment over and above any period of
imprisonment initially ordered by the Court for a term of up to 1 year, without credit for any
time already served on the term of supervised release.

3. Sentencing Guidelines

The Court will determine in its sole discretion what the defendant’s sentence will be.
While the Court must consider the United States Sentencing Guidelines in imposing

sentence, the Sentencing Guidelines are not binding on the Court. The Court could impose

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any sentence up to the maximum possible penalty as set out above despite any lesser or
greater sentencing range provided for by the Sentencing Guidelines.

4, No Agreement Regarding Sentencing

Except as set forth in this agreement and the supplement to the plea agreement, the
United States makes no promises, representations, or agreements regarding sentencing. In
particular, the United States reserves the right to present any evidence and information, and
to make any argument, to the Court and the United States Probation Office regarding
sentencing.

D. FACTUAL BASIS

The United States and the defendant stipulate to the following facts:

On or about November 5, 2018, in the Middle District of Louisiana,
defendant communicated with co-defendant Francisco Palma _ using
communication facilities, that is, cellular phones with the intent to commit drug
trafficking charges. During the communication, Anderson and Palma discussed
Palma’s ability to obtain cocaine from a source of supply and defendant’s
interest in purchasing an amount of that cocaine from Palma. Defendant
knowingly and intentionally communicated with Palma by using his cellular
phone with number (504) XXX-XX42 and with Palma using a cellular phone
with number (832) XXX-XX68. Defendant used the cellular phone with the
intent to commit the felony offense of conspiracy to possess with intent
distribute cocaine. The parties stipulate that the weight of the cocaine discussed
during said call was at least 500 grams and less than 3.5 kilograms.

The defendant admits that, to the best of his knowledge and belief, the stipulated statement of
facts is true and correct in all respects. The United States and the defendant agree that, had
this matter gone to trial, the United States could have proved such facts. The United States
and the defendant further agree that such facts are sufficient to support conviction of the

offense to which the defendant has agreed to plead guilty. The defendant understands that,

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by the terms of USSG § 6B1.4, the Court is not limited by the stipulated facts for purposes of

sentencing. Rather, in determining the factual basis for the sentence, the Court will consider

the stipulation, together with the results of the presentence investigation and any other

relevant information.

E. BREACH AND ITS CONSEQUENCES

1.

Conduct Constituting Breach

Any of the following actions by the defendant constitutes a material breach of this

agreement:

failing to plead guilty to Count 12 of the Indictment at re-
arraignment;

representing, directly or through counsel, to the United States or the
Court that he will not plead guilty to Count 12 of the Indictment;

moving to withdraw his guilty plea;

filing an appeal or instituting other post-conviction proceedings
not authorized in Section F(2);

disputing or denying guilt of the offense to which the defendant has
agreed to plead guilty or denying or disputing any fact contained in the
stipulated factual basis;

providing false, misleading, or incomplete information or
testimony, including financial information and testimony

provided pursuant to Section A(2), to the United States; or

violating the terms of this agreement or the supplement to the
plea agreement in any other manner.

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2. Consequences of Breach

In the event of a breach by the defendant, the United States is relieved of its
obligations under the agreement and the supplement to the plea agreement. In particular, the
United States may prosecute the defendant for any criminal offense. In addition, any
statements and information provided by the defendant pursuant to this agreement (or the
supplement to the plea agreement) or otherwise, and any information and evidence derived
therefrom, may be used against the defendant in this or any other prosecution or proceeding
without limitation. Such statements and information include, but are not limited to, the plea
agreement itself (including the factual basis contained in Section D), the supplement to the
plea agreement, statements made to law enforcement agents or prosecutors, testimony before
a grand jury or other tribunal, statements made pursuant to a proffer agreement, statements
made in the course of any proceedings under Rule 11, Fed. R. Crim. P. (including the
defendant’s entry of the guilty plea), and statements made in the course of plea discussions.
The defendant expressly and voluntarily waives the protection afforded by Fed. R. Evid. 410
as to any statements made by him personally (but not as to statements made by his counsel).
The defendant is not entitled to withdraw his guilty plea.

3. Procedure for Establishing Breach

The United States will provide written notice to the defendant or his attorneys if it
intends to be relieved of its obligations under the agreement and the supplement to the plea
agreement as a result of a breach by the defendant. After providing such notice, the United

States may institute or proceed with any charges against the defendant prior to any judicial

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determination regarding breach. However, the United States will obtain a judicial
determination regarding breach prior to using statements and information provided by the
defendant or any act of producing documents or items by the defendant pursuant to this
agreement or the supplement to the plea agreement, or any evidence or information derived
therefrom, in its case-in-chief in a criminal trial or in sentencing the defendant in this case.
The standard of proof in any proceeding to determine whether the plea agreement or the
supplement to the plea agreement has been breached is preponderance of the evidence. To
prove a breach, the United States may use (1) any and all statements of the defendant, (2) any
and all statements of his counsel to the Court (including the United States Probation Office),
and (3) any representation by defense counsel to the United States that the defendant will not
plead guilty.

F. WAIVERS BY THE DEFENDANT

1. Waiver of Trial Rights

By pleading guilty, the defendant waives the right to plead not guilty or to persist in a
not guilty plea and waives the right to a jury trial. Ata trial, the defendant would have the
trial rights to be represented by counsel (and if necessary have the Court appoint counsel), to
confront and examine adverse witnesses, to be protected against compelled self-
incrimination, to testify and present evidence, to compel the attendance of witnesses, and to
have the jury instructed that the defendant is presumed innocent and the burden is on the
United States to prove the defendant’s guilt beyond a reasonable doubt. By waiving his right

to a trial and pleading guilty, the defendant is waiving these trial rights.

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2. Waiver of Appeal and Collateral Remedies

Except as otherwise provided in this section, the defendant hereby expressly waives
the right to appeal his conviction and sentence, including any appeal right conferred by 28
U.S.C. § 1291 and 18 U.S.C. § 3742, and to challenge the conviction and sentence in any
post-conviction proceeding, including a proceeding under 28 U.S.C. § 2241, 28 U.S.C. §
2255, or 18 U.S.C. § 3582(c)(2). This waiver applies to any challenge on appeal or in any
post-conviction proceeding to any aspect of the defendant’s sentence, including
imprisonment, fine, special assessment, restitution, forfeiture or the length and conditions of
supervised release or probation. The defendant, however, reserves the right to appeal the
following: (a) any sentence which is in excess of the statutory maximum; (b) any sentence
which is an upward departure pursuant to the Sentencing Guidelines; and (c) any non-
Guidelines sentence or “variance” which is above the guidelines range calculated by the
Court. Notwithstanding this waiver of appeal and collateral remedies, the defendant may
bring any claim of ineffectiveness of counsel.

3, Waiver of Statute of Limitations

The defendant hereby waives all defenses based on the applicable statutes of
limitation as to the offense charged in the Indictment, including those that the United States
has agreed to dismiss in Section B(1), and all offenses that the United States has agreed not
to prosecute, as long as such offenses are not time-barred on the effective date of this
agreement. The defendant likewise waives any common law, equitable, or constitutional

claim of pre-indictment delay as to such offenses, as long as such offenses are not time-

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barred on the effective date of this agreement. The waivers contained in this paragraph will
expire one year after the date of any of the following: (1) a judicial finding that defendant has
breached the plea agreement; (2) the withdrawal of any plea entered pursuant to this plea
agreement; or (3) the vacating of any conviction resulting from a guilty plea pursuant to this
plea agreement.

4, Waiver of Speedy Trial Rights

The defendant hereby waives any common law, equitable, or constitutional claim
regarding post-indictment delay as to the offense charged in the Indictment, including those
that the United States has agreed to dismiss in Section B(1). The waiver contained in this
paragraph will expire one year after the date of any of the following: (1) a judicial finding
that defendant has breached the plea agreement; (2) the withdrawal of any plea entered
pursuant to this plea agreement; or (3) the vacating of any conviction resulting from a guilty
plea pursuant to this plea agreement.

G. EFFECT OF AGREEMENT

1. Effective Date

This agreement and the supplement to the plea agreement are not binding on any
party until both are signed by the defendant, defendant’s counsel, and an attorney for the
United States. Once signed by the defendant, his counsel, and an attorney for the United

States, the agreement and the supplement are binding on the defendant and the United States.

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2. Effect on Other Agreements

This agreement incorporates the supplement to the plea agreement which will be filed
under seal with the Court. In this district, the Court requires that a sealed supplement be
filed with every plea agreement regardless of whether the defendant is cooperating. The
supplement either states that the defendant is not cooperating or provides the terms of the
defendant’s agreement to cooperate. This plea agreement, along with the aforementioned
supplement to the plea agreement, supersedes any prior agreements, promises, or
understandings between the parties, written or oral, including any proffer agreement.

3. Effect on Other Authorities

The agreement does not bind any federal, state, or local prosecuting authority other
than the United States Attorney’s Office for the Middle District of Louisiana.

4, Effect of Rejection by Court

Pursuant to Fed. R. Crim. P. 11, the Court may accept or reject this plea agreement
and the supplement to the plea agreement. If the Court rejects the plea agreement and the
supplement, the plea agreement and the supplement are no longer binding on the parties and
are not binding on the Court. Ifthe Court rejects the plea agreement and the supplement, the
defendant will be given the opportunity to withdraw his plea, and such withdrawal will not
constitute a breach of the agreement. If the defendant does not withdraw his plea following
rejection of the plea agreement and the supplement, the disposition of the case may be less

favorable to the defendant than contemplated by the plea agreement.

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H. REPRESENTATIONS AND SIGNATURES

1. By The Defendant

I, Clarence Corey Anderson, have read this plea agreement and have discussed it with
my attorneys. I fully understand the agreement and enter into it knowingly, voluntarily, and
without reservation. I have not been threatened, intimidated, pressured, or coerced in any
manner. I am not under the influence of any substance or circumstance that could impede
my ability to understand the agreement and its consequences.

I affirm that absolutely no promises, agreements, understandings, or conditions have
been made, agreed to, or imposed by the United States in connection with my decision to
plead guilty except those set forth in this agreement and the supplement to the plea
agreement.

I acknowledge that no promises or assurances have been made to me by anyone as to
what my sentence will be. I understand that representations by my attorneys (or anyone else)
regarding application of the Sentencing Guidelines and/or my possible sentence are merely
estimates and are not binding on the Court.

I have read the Indictment and discussed it with my attorneys. I fully understand the
nature of Count 12 of the Indictment, including the elements.

I have accepted this plea agreement and agreed to plead guilty because I am in fact

guilty of Count 12 of the Indictment.

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I am satisfied with the legal services provided by my attorneys and have no objection

to the legal representation I have received.

Cfatence Cotay Raisin
Defendant

2. By Defense Counsel

I have read the Indictment and this plea agreement and have discussed both with my
client, Clarence Corey Anderson, who is the defendant in this matter. I am satisfied that the
defendant understands the agreement and the charge against him, including the elements. I
am also satisfied that the defendant is entering into the agreement knowingly and voluntarily.
This agreement, together with the supplement to the plea agreement, accurately and

completely sets forth the entire agreement between the defendant and the United States.

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Counsel for Defendant

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Micah Clemons”
Meal ¢ for Defendant

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3. By the United States

We accept and agree to this plea agreement on behalf of the United States. This
agreement, together with the supplement to the plea agreement, accurately and completely

sets forth the entire agreement between the defendant and the United States.

Ky DATE: o+| 03 | aS~

April M. Leo, F '
Acting Unit¢d States Attorney
Middle District of Louisiana

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EliJ. Abad “SS”

Assistant United States Attorney
Middle District of Louisiana

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